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a/k/a Goud C. Amardeep

                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF FLORIDA
                                          PENSACOLA DIVISION

UNITED STATES OF AMERICA

-vs-                                                                     Case # 3:08cr85-003LAC

AMARDEEP GOUD CHERLAPALLI
a/k/a Andy Cherlapalli, a/k/a Amar Cherlapalli,
a/k/a Amardeep Goud, a/k/a Goud C. Amardeep
                                                                         USM # 07027-017

                                                                         Defendant’s Attorney:
                                                                         Robert A. Dennis, Jr. (Appointed)
                                                                         3 West Garden Street, Suite 200
                                                                         Pensacola, Florida 32501
___________________________________

                                      JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Counts One and Three of the Indictment on October 9, 2008.
Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such counts which involve
the following offenses:
       TITLE/SECTION                        NATURE OF                         DATE OFFENSE
          NUM BER                            OFFENSE                           CONC LUDED                    COUNT

 18 U.S.C. §§ 1546(a)            Conspiracy to Comm it Visa                 September 16, 2008                  One
 and 371                         Fraud
 18 U.S.C. § 1546(a)(2)          Attempting to Make a False
                                 Statement in the Application of a              March 16, 2007                Three
                                 Visa Perm it
The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.


                                                                   Date of Imposition of Sentence:
                                                                   November 25, 2008

                                                                   s /L.A. Collier
                                                                   LACEY A. COLLIER
                                                                   SENIOR UNITED STATES DISTRICT JUDGE

                                                                   December 2, 2008
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                                                  IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of Four Months with credit for time served as to Count s One and Three,
with Counts to run concurrently one with the other.

         The defendant is remanded to the custody of the United States Marshal.




                                                       RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                     __________________________________
                                                                           UNITED STATES MARSHAL


                                                                 By:__________________________________
                                                                             Deputy U.S. Marshal
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a/k/a Goud C. Amardeep

                                            SUPERVISED RELEASE
       Upon release from imprisonment, the defendant shall be on supervised release for a term
of Two Years as to Counts One and Three, with Counts to run concurrently one with the
other.
       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

        The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                            STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.       The defendant shall not leave the judicial district without the permission of the court or probation
         officer;

2.       The defendant sh all re port to the pro bation officer an d shall submit a truthful and complete written
         report within the first five days of each month;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
         of the probation officer;

4.       The defendant shall support his or her dependents and meet other family responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
         schooling, training, or other acceptable reasons;

6.       The defendan t shall notify the probation officer at least 10 days prior to any change in residence or
         em ploym ent;

7.       The defe nda nt shall refrain from exc ess ive us e of a lcohol and sha ll not purcha se, possess, use,
         distribute, or adm inister any controlled substa nce or an y paraphernalia related to any controlled
         substances, except as prescribed by a physician;

8.       The defendant sh all not frequent places where controlled substances are illegally sold, used,
         distributed, or administered;

9.       The defendant shall not associate with any persons engaged in criminal activity and shall not
         ass ociate with any person convicted of a felony unless granted permission to do so by the probation
         officer;
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a/k/a Goud C. Amardeep

10.      The defendant sh all perm it a probation officer to visit him or her at any time at hom e or elsewhere and
         shall permit confiscation of any contraban d observe d in plain view of the proba tion officer;

11.      The defendant shall notify the probation officer within 72 hours of being arrested or questioned by
         a law enforcem ent officer;

12.      The defendan t shall not enter into any agreem ent to act as an inform er or a special agent of a la w
         enforcement agency without the permission of the court; and

13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be
         occasioned by the defendant’s criminal record or personal history or characteristics and shall perm it
         the probation officer to mak e such notifications and to confirm the defendant’s compliance with such
         notifica tion req uirem ent.

14.      If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
         defendant pay any such fine or restitution in accordance with the Sc hedule of Paym ents s et forth in
         the C rim inal Mone tary Penalties she et of this judg m ent.

                    ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also comply with the following additional conditions of supervised
         release:

         The defendant shall cooperate with the probation officer and Immigration and Customs
         Enforcement regarding immigration status and abide by all orders or instructions of the
         Immigration and Customs Enforcement agency. If deported, the defendant shall not
         reenter the United States without permission of the Attorney General or Secretary of the
         Department of Homeland Security.
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       Upon a finding of a violation of probation or supervised release, I understand the Court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have been
provided a copy of them.




         Defendant                                                                    Date




         U.S. Probation Officer/Designated Witness                                    Date
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                                   CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

                                                      SUMMARY
           Special
     Monetary Assessment                                   Fine                                 Restitution

               $200.00                                      $0                                        $0




                                  SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $200.00 is imposed and is to be paid immediately.
($100.00 each count)

No fine imposed.
No restitution imposed.


                                                FORFEITURE

Preliminary Order of Forfeiture entered by Court on November 25, 2008.
